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                 United States Court of Appeals
                            FOR THE DISTRICT OF COLUMBIA CIRCUIT
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No. 25-1004                                                September Term, 2024
                                                                              CFIUS-24-088
                                                                              CFIUS-24-154
                                                   Filed On: February 27, 2025 [2103177]
United States Steel Corporation, et al.,

              Petitioners

       v.

Committee on Foreign Investment in the
United States, et al.,

              Respondents

       BEFORE:       Millett, Pillard, and Childs, Circuit Judges

                                           ORDER

        Upon consideration of the government’s consent motion for extension of time to
file the classified administrative record and response and reply briefs, it it

      ORDERED that the motion be granted and the following revised briefing
schedule will now apply:

       Classified Administrative Record                            March 17, 2025

       Respondents’ Brief                                          March 17, 2025

       Briefs for Amicus Curiae in support of
       Respondents                                                 March 24, 2025

       Petitioners’ Reply Brief                                    March 31, 2025

                                       Per Curiam

                                                         FOR THE COURT:
                                                         Clifton B. Cislak, Clerk

                                                  BY:    /s/
                                                         Michael C. McGrail
                                                         Deputy Clerk
